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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                  )
                                           )
                       Plaintiff,          )                  8:04CR164-7
                                           )
              v.                           )
                                           )
PEDRO MORALES,                             )                 MEMORANDUM
                                           )                  AND ORDER
                       Defendant.          )
                                           )


       Pending before me is a frivolous § 2255 motion.           It will be denied with
prejudice because the files and records conclusively show that the defendant is not
entitled to relief.


       First, the defendant did not appeal his conviction after the entry of a guilty plea
and judgment was rendered on August 18, 2010. (Filing no. 380.) The defendant had
one year and 10 days to file his motion. See, e.g., Never Misses A Shot v. United
States, 413 F.3d 781, 782 (8 th Cir. 2005). His motion was not filed until September
15, 2011. (Filing no. 382.) The motion was not presented to the postal service until
September 13, 2011. (Id. (envelope).) While the motion purports to have been dated
on July 21, 2011, and recognizing that the defendant is entitled to the “prison mail box
rule,” there is no showing that the motion was deposited with the prison in a timely
fashion or that there is some reason to invoke equitable tolling principles.
Accordingly, the motion must be denied because it is not timely under the provisions
of 28 U.S.C. § 2255(f)(1).


       Second, the claim that counsel was ineffective for failing to challenge the grand
jury under Federal Rule of Criminal Procedure 6 has no merit. Initially, the defendant
gives no concrete reason to believe that Rule 6 was violated. Moreover, there is no
reason to believe that the alleged failure to challenge the grand jury resulted in
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prejudice to the defendant particularly given the fact that the defendant entered a
guilty plea and thus waived many, if not all, Rule 6 arguments.


      Accordingly,


      IT IS ORDERED that the Motion to Vacate under 28 U.S.C. § 2255 (filing no.
382) is denied. A separate judgment will be issued.


      DATED this 26 th day of September, 2011.


                                       BY THE COURT:

                                       Richard G. Kopf
                                       United States District Judge




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